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11 Attorneys for Plaintiff,
   Cynthia Green
12
13                        IN UNITED STATES DISTRICT COURT

14                           FOR THE DISTRICT OF NEVADA

15
16 Cynthia Green,                              Case No.:
17
                    Plaintiff,
18
19        vs.                                  COMPLAINT

20 Equifax Information Solutions, LLC,
21 a foreign limited liability company,        JURY TRIAL DEMAND
   Trans Union, LLC,
22 a foreign limited liability company,
23 Ally Financial, Inc.,
   a foreign corporation,
24
25                 Defendants.
26
27
28
                                           1
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 1 NOW COMES THE PLAINTIFF, CYNTHIA GREEN, BY AND THROUGH
 2
   COUNSEL, KRISTIE L. FISHER and for her Complaint against the Defendants,
 3
 4 pleads as follows:
 5                                   JURISDICTION
 6
      1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
 7
 8    2. This is an action brought by a consumer for violation of the Fair Credit Reporting
 9
         Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).
10
11
12                                        VENUE
13
      3. The transactions and occurrences which give rise to this action occurred in the
14
         City of North Las Vegas, Clark County, Nevada.
15
16    4. Venue is proper in the District Court Nevada.
17
18                                       PARTIES
19    5. Plaintiff is a natural person residing in the City of North Las Vegas, Clark
20
         County, Nevada.
21
22    6. The Defendants to this lawsuit are:
23
            a. Equifax Information Services, LLC (“Equifax”), which is a foreign
24
25             limited liability company that conducts business in the state of Nevada;

26          b. Trans Union, LLC (“Trans Union”), which is a foreign limited liability
27
               company that conducts business in the state of Nevada; and
28
                                               2
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 1          c. Ally Financial, Inc. (“Ally Financial”), which is a foreign corporation
 2
               that conducts busines in the state of Nevada.
 3
 4
                               GENERAL ALLEGATIONS
 5
 6    7. Ally Financial is inaccurately reporting its Tradelines (“Errant
 7
         Tradelines”) with an erroneous notation of “account in dispute” on
 8
         Plaintiff’s Equifax and Trans Union credit disclosures.
 9
10    8. Plaintiff no longer disputes the Errant Tradelines.
11
      9. On February 20, 2020, Plaintiff obtained her Equifax and Trans
12
13       Union credit disclosures. While reviewing her credit disclosures, Plaintiff

14       noticed the Errant Tradelines inaccurately reporting with an erroneous notation
15
         of “account in dispute.”
16
17    10.On or about June 5, 2020, Plaintiff submitted a letter to Equifax, requesting the
18       credit bureaus to remove the notation of “account in dispute.”
19
      11.On or about June 9, 2020, Plaintiff submitted a letter to Trans Union, requesting
20
21       the credit bureaus to remove the notation of “account in dispute.”
22
      12.Equifax and Trans Union forwarded Plaintiff’s consumer dispute to Ally
23
24       Financial.

25    13.Ally Financial received Plaintiff’s consumer dispute from Equifax and Trans
26
         Union.
27
28
                                              3
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 1    14.Ally Financial, Equifax and Trans Union did not consult the Credit Reporting
 2
         Resource Guide as part of its investigation of Plaintiff’s dispute.
 3
 4    15.Plaintiff had not received Equifax’s and Trans Union’s investigation results.
 5       Therefore, on August 11, 2020, Plaintiff obtained her Equifax and Trans Union
 6
         credit disclosures, which showed that Equifax, Trans Union and Ally Financial
 7
 8       failed or refused to remove the notation of “account in dispute.”
 9
      16.As a direct and proximate cause of the Defendants’ negligent and/or willful
10
11       failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.,

12       Plaintiff has suffered credit and emotional damages. Plaintiff has also
13
         experienced undue stress and anxiety due to Defendants’ failure to correct the
14
15       errors in her credit files or improve her financial situation by obtaining new or
16       more favorable credit terms as a result of the Defendants’ violations of the
17
         FCRA.
18
19                                       COUNT I
20
      NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
21                     BY ALLY FINANCIAL
22
      17.Plaintiff realleges the above paragraphs as if recited verbatim.
23
24    18.After being informed by Equifax and Trans Union of Plaintiff’s consumer

25       dispute of the erroneous notation, Ally Financial negligently failed to conduct a
26
         proper investigation of Plaintiff’s dispute as required by 15 USC 1681s-2(b).
27
28
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 1     19.Ally Financial negligently failed to review all relevant information available to
 2
           it and provided by Equifax and Trans Union in conducting its reinvestigation as
 3
 4         required by 15 USC 1681s-2(b) and failed to direct Equifax and Trans Union
 5         to remove the notation of “account in dispute.”
 6
       20.The Errant Tradelines are inaccurate and creates a misleading impression
 7
 8         on Plaintiff’s consumer credit files with Equifax and Trans Union, to which it is
 9
           reporting such tradelines.
10
11     21.As a direct and proximate cause of Ally Financial’s negligent failure to perform

12         its duties under the FCRA, Plaintiff has suffered damages, mental anguish,
13
           suffering, humiliation, and embarrassment.
14
15     22.Ally Financial is liable to Plaintiff by reason of its violations of the FCRA in an
16         amount to be determined by the trier of fact together with reasonable attorneys’
17
           fees pursuant to 15 USC 1681o.
18
19     23.Plaintiff has a private right of action to assert claims against Ally
20
           Financial arising under 15 USC 1681s-2(b).
21
22         WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgement

23 against the Defendant Ally Financial for damages, costs, interest, and attorneys’ fees.
24
25
26
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 1
 2
 3                                       COUNT II

 4      WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
 5                      BY ALLY FINANCIAL

 6
 7    24. Plaintiff realleges the above paragraphs as if recited verbatim.
 8    25.After being informed by Equifax and Trans Union that Plaintiff disputed the
 9
         accuracy of the information it was providing, Ally Financial willfully failed to
10
11       conduct a proper reinvestigation of Plaintiff’s dispute, and willfully failed to
12
         direct Equifax and Trans Union to remove the notation of “account in dispute.”
13
      26.Ally Financial willfully failed to review all relevant information available to it
14
15       and provided by Equifax and Trans Union as required by 15 USC 1681s-2(b).
16
      27.As a direct and proximate cause of Ally Financial’s willful failure to perform
17
18       its duties under the FCRA, Plaintiff has suffered damages, mental anguish,
19       suffering, humiliation, and embarrassment.
20
      28.Ally Financial is liable to Plaintiff for either statutory damages or actual
21
22       damages she has sustained by reason of its violations of the FCRA in an amount
23       to be determined by the trier of fact, together with an award of punitive
24
         damages in the amount to be determined by the trier of fact, as well as for
25
26       reasonable attorneys’ fees and she may recover therefore pursuant to 15 USC
27
         1681n.
28
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 1         WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment
 2
     against the Defendant Ally Financial for the greater of statutory or actual damages,
 3
 4 plus punitive damages, along with costs, interest, and attorneys’ fees.
 5
 6                                     COUNT III

 7
        NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 8
                            BY EQUIFAX
 9
10      29.Plaintiff realleges the above paragraphs as if recited verbatim.
11
        30.Defendant Equifax prepared, compiled, issued, assembled, transferred,
12
13         published, and otherwise reproduced consumer reports regarding Plaintiff as
14
           that term is defined in 15 USC 1681a.
15
        31.Such reports contained information about Plaintiff that was false, misleading,
16
17         and inaccurate.
18
        32.Equifax negligently failed to maintain and/or follow reasonable procedures to
19
20         assure maximum possible accuracy of the information it reported to one or
21         more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).
22
        33. After receiving Plaintiff’s consumer dispute to the Errant Tradeline,
23
24         Equifax negligently failed to conduct a reasonable reinvestigation as required
25         by 15 U.S.C. 1681i.
26
27
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 1     34.As a direct and proximate cause of Equifax’s negligent failure to perform its
 2
           duties under the FCRA, Plaintiff has suffered actual damages, mental anguish
 3
 4         and suffering, humiliation, and embarrassment.
 5     35.Equifax is liable to Plaintiff by reason of its violation of the FCRA in an
 6
           amount to be determined by the trier of fact together with her reasonable
 7
 8         attorneys’ fees pursuant to 15 USC 1681o.
 9
     WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment
10
11 against Equifax for actual damages, costs, interest, and attorneys’ fees.
12                                   COUNT IV
13
14 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                        BY EQUIFAX
15
16
       36.Plaintiff realleges the above paragraphs as if recited verbatim.
17
18     37.Defendant Equifax prepared, compiled, issued, assembled, transferred,
19         published, and otherwise reproduced consumer reports regarding Plaintiff as
20
           that term is defined in 15 USC 1681a.
21
22     38.Such reports contained information about Plaintiff that was false, misleading
23
           and inaccurate.
24
25     39.Equifax willfully failed to maintain and/or follow reasonable procedures to

26         assure maximum possible accuracy of the information that it reported to one or
27
           more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).
28
                                                8
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 1     40. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Equifax
 2
          willfully failed to conduct a reasonable reinvestigation as required by 15 U.S.C.
 3
 4        1681i.
 5     41.As a direct and proximate cause of Equifax’s willful failure to perform its duties
 6
          under the FCRA, Plaintiff has suffered actual damages, mental anguish and
 7
 8        suffering, humiliation, and embarrassment.
 9
       42.Equifax is liable to Plaintiff by reason of its violations of the FCRA in an
10
11        amount to be determined by the trier of fact together with her reasonable

12        attorneys’ fees pursuant to 15 USC 1681n.
13
     WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against
14
15 Defendant Equifax for the greater of statutory or actual damages, plus punitive
16 damages along with costs, interest, and reasonable attorneys’ fees.
17
                                   COUNT V
18
19
   NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
20                     BY TRANS UNION
21
22     43.Plaintiff realleges the above paragraphs as if recited verbatim.
23
       44.Defendant Trans Union prepared, compiled, issued, assembled, transferred,
24
25        published, and otherwise reproduced consumer reports regarding Plaintiff as

26        that term is defined in 15 USC 1681a.
27
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 1     45.Such reports contained information about Plaintiff that was false, misleading,
 2
           and inaccurate.
 3
 4     46.Trans Union negligently failed to maintain and/or follow reasonable procedures
 5         to assure maximum possible accuracy of the information it reported to one or
 6
           more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).
 7
 8     47. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Trans
 9
           Union negligently failed to conduct a reasonable reinvestigation as required by
10
11         15 U.S.C. 1681i.

12     48.As a direct and proximate cause of Trans Union’s negligent failure to perform
13
           its duties under the FCRA, Plaintiff has suffered actual damages, mental
14
15         anguish and suffering, humiliation, and embarrassment.
16     49.Trans Union is liable to Plaintiff by reason of its violation of the FCRA in an
17
           amount to be determined by the trier of fact together with her reasonable
18
19         attorneys’ fees pursuant to 15 USC 1681o.
20
     WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment
21
22 against Trans Union for actual damages, costs, interest, and attorneys’ fees.
23                                   COUNT VI
24
25 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                        BY TRANS UNION
26
27
       50.Plaintiff realleges the above paragraphs as if recited verbatim.
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                                               10
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 1     51.Defendant Trans Union prepared, compiled, issued, assembled, transferred,
 2
          published, and otherwise reproduced consumer reports regarding Plaintiff as
 3
 4        that term is defined in 15 USC 1681a.
 5     52.Such reports contained information about Plaintiff that was false, misleading
 6
          and inaccurate.
 7
 8     53.Trans Union willfully failed to maintain and/or follow reasonable procedures to
 9
          assure maximum possible accuracy of the information that it reported to one or
10
11        more third parties pertaining to Plaintiff, in violation of 15 USC 1681e(b).

12     54. After receiving Plaintiff’s consumer dispute to the Errant Tradeline, Trans
13
          Union willfully failed to conduct a reasonable reinvestigation as required by 15
14
15        U.S.C. 1681i.
16     55.As a direct and proximate cause of Trans Union’s willful failure to perform its
17
          duties under the FCRA, Plaintiff has suffered actual damages, mental anguish
18
19        and suffering, humiliation, and embarrassment.
20
       56.Trans Union is liable to Plaintiff by reason of its violations of the FCRA in an
21
22        amount to be determined by the trier of fact together with her reasonable

23        attorneys’ fees pursuant to 15 USC 1681n.
24
     WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against
25
26 Defendant Trans Union for the greater of statutory or actual damages, plus punitive
27 damages along with costs, interest, and reasonable attorneys’ fees.
28
                                              11
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 1
 2
                                     JURY DEMAND
 3
 4       Plaintiff hereby demands a trial by Jury.

 5 DATED: October 30, 2020
 6
 7                                                By: /s/ Kristie L. Fischer
                                                  Kristie L. Fischer
 8
                                                  2565 Coral Sky Court,
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